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Coronavirus Disease 2019 (COVID-19)

Cruise Ship Crew Member Disembarkations
CDC is allowing crew members to disembark from cruise ships in U.S. waters and
return home if cruise lines submit a signed attestation stating that they have
                                                                                             CDC helping cruise ship
complied with requirements to safely disembark their crew members.                           travelers

CDC shared information with all cruise lines in US waters on April 23, 2020, to help         Learn what CDC is doing to help
crew members return home safely. Since then, several cruise lines have requested             cruise ship travelers during the
to disembark crew through this process, and CDC stands ready to approve these                COVID-19 pandemic.
requests with same-day turnaround. The list on this page provides the latest
information on signed attestations that CDC has received from cruise lines and
approved to safely disembark crew. This list is updated daily.



Emergency Medical Disembarkations
The CDC will continue to support urgent medical evacuations of crew in U.S. waters and ports, either by air or land
ambulance. Emergency medical evacuations should be coordinated with U.S. Coast Guard and the receiving medical facility
and do not require CDC approval. CDC has noti ed all cruise lines as well as federal, state, and local partners that the No Sail
Order of April 15 will not prevent crew members from receiving emergency medical care.


Frequently Asked Questions
  What are the requirements of the attestation that cruise lines are required to sign before crew can disembark, or
  transfer to another ship?


  By signing the attestation form, cruise ship operators agree to follow speci c conditions that are designed to allow crew
  to safely disembark while protecting public health, including the following:

     Arrange to transport crew members to their nal destination (US or overseas) by industry-chartered private transport,
     industry-chartered private ights, or personal vehicles (no rental cars, taxis, or ride-share services) with measures in
     place to ensure neither those involved in transport nor other members of the public are exposed to the disembarking
     individuals.
     Screen disembarking crew members for symptoms of COVID-19.
     Ensure crew members with known exposures to COVID-19 are transported separately from those with no known
     exposure.
     Provide face coverings, such as a cloth face covering, to disembarking crew members or con rm that they have their
     own face coverings.
     Instruct disembarking crew members to stay home for 14 days and continue to practice social distancing after
     reaching their nal destination.
     Ensure disembarking crew members:
         will not stay overnight in a hotel before the ight or at any point until they reach their nal destination
          will not use public transportation (including taxis, rental cars or ride-share services) to get to the airport/charter
           ight
          will not enter the public airport terminal
          will not take commercial aircraft after an initial charter ight
          will not have a transportation layover exceeding 8 hours
          will not have interaction with the public during their travel home or to their new duty station (e.g., rental car
          companies, restaurants, other public areas)
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Why is CDC requiring that cruise o cials sign a legal attestation?


Requiring a signed attestation helps ensure that the information provided by cruise o cials as a condition of
disembarking or transferring crew is truthful and accurate. By signing the legal attestation documents, cruise line o cials
certify that the information they provided to CDC is truthful and accurate. If the information is not truthful and accurate,
these o cials are subject to the criminal penalty provisions of 18 U.S.C. § 1001. It is common to ask corporate o cials in
other settings to certify that statements made to the U.S. Government on behalf of the corporate entity are true and
correct, such as in a Securities and Exchange Commission (SEC) ling or when seeking payment reimbursement under
Medicare.


What is CDC’s legal authority for preventing crew who are U.S. citizens from disembarking cruise ships?


CDC is using its legal authority under the No Sail Order and 42 CFR 71.31(b), 71.32(b) to stipulate speci c conditions for
the safe disembarkation of crew in a manner that will not endanger the public’s health. Having cruise lines sign a legal
attestation is one method of ensuring that these conditions have been or will be met. CDC is not detaining crew who are
U.S. citizens or preventing them from entering the United States. We are hopeful that more cruise lines will take the
necessary steps to ensure that their crew members get home safely in a way that will not risk the health and safety of our
communities.


Why are crew members required to use noncommercial travel if they are on a “COVID-free” ship?


At this time, given the limited availability of testing onboard ships and inconsistent reporting from cruise ships, CDC does
not have con rmation or evidence that any cruise ship is free of COVID-19. We are currently in a phase of the pandemic
where it is necessary to implement strict measures to control the spread of COVID-19. Just as the American public has a
role to play by practicing social distancing, cruise lines have a role to play in limiting the contact their crew members have
with the public when disembarking. This is why CDC has provided instructions for the safe disembarkation of crew in a
manner that will not endanger the public’s health. We are hopeful that more cruise lines will take advantage of the
opportunity to use the attestation process. Crew members who remain at sea and want to disembark should contact
their cruise ship or cruise line about meeting CDC requirements for safe disembarkation and transport.


Why are legal penalties included in the attestation form?


CDC requires cruise lines to sign an attestation form to verify that the information they provide to CDC is true and
accurate. Legal penalties would only be applied if the cruise line knowingly submitted a false statement, which could pose
further risk to the public’s health.


What are the legal penalties for knowingly submitting a false attestation form?


The sentence for this crime can include 5 years in federal prison and a ne.


Are ships required to comply with the No Sail Order if they are not operating in U.S. waters?


CDC’s No Sail Order (NSO)  applies to all cruise ships operating, or seeking to operate, in waters subject to U.S.
jurisdiction. CDC recommends that all cruise lines follow the same guidance for safe travel to protect the public’s health,
including conducting a medical screening at disembarkation, providing face coverings, and advising crew members to
stay home for 14 days after disembarking.


Cruise lines that are unable or unwilling to abide by all elements outlined in the NSO and CDC’s Interim Guidance for
Cruise Ships During the Period of the No Sail Order must remain entirely outside U.S. waters during the period of the
NSO. Cruise ships that expect to operate in U.S. waters in any capacity or for any length of time must follow all elements
outlined in the NSO and in the Interim Guidance, even while outside of U.S. waters.

However, the NSO does not apply to ships operating entirely outside of U.S. waters. Foreign jurisdictions may impose
their own restrictions or requirements on cruise ships.


What is CDC doing to ensure cruise lines are adhering to the No Sail Order?


CDC has provided Interim Guidance for cruise ships during the period of the No Sail Order to help inform the plans that
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  CDC has provided Interim Guidance for cruise ships during the period of the No Sail Order to help inform the plans that
  cruise lines develop to prevent, detect, contain, and respond to COVID-19 on their ships.


  CDC is committed to the safety and well-being of crew members while onboard and as they disembark. Crew members
  on ships in or intending to be in US waters who have questions about the process for disembarkation or who have
  concerns about what their ship is doing to prevent COVID-19 onboard can share their questions or concerns with CDC by
  sending an email to eocevent431@cdc.gov

  CDC is also reminding all cruise lines in U.S. waters or seeking to operate in U.S. waters of these requirements. With the
  assistance of its federal, state, and local partners, CDC stands ready to direct ships that do not comply to leave U.S.
  waters. CDC also reminds cruise ship operators that those who do not comply may be subject to criminal penalties.



Cruise Ship Crew Member Disembarkations Approved by CDC
(April 15, 2020 – Present)
Last updated on May 22, 2020


                                                                                                  Number
                                                                                  Date            of Crew     Country of
 Vessel Name          Cruise line                  Parent Company                 Submitted       A ected     Repatriation

 Scarlet Lady         Virgin Voyages               Virgin Cruises Intermediate    4/23/2020       2           United States
                                                   Limited

 Grand                Bahamas Paradise             Bahamas Paradise Cruise        4/24/2020       27          Honduras
 Celebration          Cruise Lines                 Line

 Caribbean            Princess Cruises             Carnival Corporation           4/25/2020       13          Argentina
 Princess

 Caribbean            Princess Cruises             Carnival Corporation           4/25/2020       181         Peru
 Princess

 Seven Seas           Regent Seven Seas            Norwegian Cruise Line          4/25/2020       5           United States
 Mariner              Cruises                      Holdings

 Coral Princess       Princess Cruises             Carnival Corporation           4/27/2020       4           Ecuador

 Scarlet Lady         Virgin Voyages               Virgin Cruises Intermediate    4/28/2020       6           United States
                                                   Limited

 Liberty of the       Royal Caribbean              Royal Caribbean Cruises,       4/29/2020       1           United States
 Seas                 International                Ltd.

 Norwegian Joy        Norwegian Cruise Line        Norwegian Cruise Line          4/30/2020       348         Philippines
                                                   Holdings

 Oceania Sirena       Oceania Cruises              Norwegian Cruise Line          5/1/2020        270         Philippines
                                                   Holdings

 Oceania Marina       Oceania Cruises              Norwegian Cruise Line          5/1/2020        9           Philippines
                                                   Holdings

 Norwegian Epic       Norwegian Cruise Line        Norwegian Cruise Line          5/1/2020        161         Philippines
                                                   Holdings
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                                                                                           Number
                                                                            Date           of Crew     Country of
Vessel Name         Cruise line                Parent Company               Submitted      A ected     Repatriation



Norwegian Epic      Norwegian Cruise Line      Norwegian Cruise Line        5/1/2020       6           Dominican
                                               Holdings                                                Republic

Carnival Fantasy    Carnival Cruise Lines      Carnival Corporation         5/2/2020       198         Peru

Carnival Fantasy    Carnival Cruise Lines      Carnival Corporation         5/3/2020       1           United States

Disney Fantasy      Disney Cruise Line         Walt Disney Company          5/2/2020       34          Various Non-
                                                                                                       U.S.

Disney Dream        Disney Cruise Line         Walt Disney Company          5/2/2020       26          Various Non-
                                                                                                       U.S.

Disney Magic        Disney Cruise Line         Walt Disney Company          5/2/2020       15          Various Non-
                                                                                                       U.S.

Disney Magic        Disney Cruise Line         Walt Disney Company          5/2/2020       3           United States

Disney Wonder       Disney Cruise Line         Walt Disney Company          5/2/2020       3           United States

Disney Dream        Disney Cruise Line         Walt Disney Company          5/4/2020       409         Various Non-
                                                                                                       U.S.

Norwegian Epic      Norwegian Cruise Line      Norwegian Cruise Line        5/4/2020       89          St. Lucia
                                               Holdings

Norwegian           Norwegian Cruise Line      Norwegian Cruise Line        5/4/2020       69          St. Lucia
Escape                                         Holdings

Oceania Marina      Oceania Cruises            Norwegian Cruise Line        5/4/2020       1           St. Lucia
                                               Holdings

Norwegian           Norwegian Cruise Line      Norwegian Cruise Line        5/4/2020       2           United States
Escape                                         Holdings

Norwegian Gem       Norwegian Cruise Line      Norwegian Cruise Line        5/4/2020       1           Greece
                                               Holdings

Norwegian Epic      Norwegian Cruise Line      Norwegian Cruise Line        5/4/2020       45          Indonesia
                                               Holdings

Norwegian           Norwegian Cruise Line      Norwegian Cruise Line        5/4/2020       215         Indonesia
Escape                                         Holdings

Norwegian           Norwegian Cruise Line      Norwegian Cruise Line        5/4/2020       5           Various Non-
Escape                                         Holdings                                                U.S.

Oceania Marina      Oceania Cruises            Norwegian Cruise Line        5/4/2020       39          Various Non-
                                               Holdings                                                U.S.

Oceania Sirena      Oceania Cruises            Norwegian Cruise Line        5/4/2020       19          Various Non-
                                               Holdings                                                U.S.
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                                                                                           Number
                                                                            Date           of Crew     Country of
Vessel Name         Cruise line                Parent Company               Submitted      A ected     Repatriation



Norwegian Epic      Norwegian Cruise Line      Norwegian Cruise Line        5/4/2020       78          Various Non-
                                               Holdings                                                U.S.

Disney Fantasy      Disney Cruise Line         Walt Disney Company          5/4/2020       479         United
                                                                                                       Kingdom

Disney Magic        Disney Cruise Line         Walt Disney Company          5/4/2020       139         Various Non-
                                                                                                       U.S.

Disney Magic        Disney Cruise Line         Walt Disney Company          5/4/2020       4           United States

Norwegian Joy       Norwegian Cruise Line      Norwegian Cruise Line        5/5/2020       151         Indonesia
                                               Holdings

Symphony of the     Royal Caribbean            Royal Caribbean Cruises,     5/5/2020       6           United States
Seas                International              Ltd.

Celebrity           Celebrity Cruises          Royal Caribbean Cruises,     5/5/2020       4           United States
Re ection                                      Ltd.

Harmony of the      Royal Caribbean            Royal Caribbean Cruises,     5/5/2020       3           United States
Seas                International              Ltd.

Norwegian Epic      Norwegian Cruise Line      Norwegian Cruise Line        5/5/2020       87          Indonesia
                                               Holdings

Norwegian           Norwegian Cruise Line      Norwegian Cruise Line        5/5/2020       496         Indonesia
Escape                                         Holdings

Oceania Marina      Oceania Cruises            Norwegian Cruise Line        5/5/2020       15          Indonesia
                                               Holdings

Norwegian Epic      Norwegian Cruise Line      Norwegian Cruise Line        5/6/2020       68          Honduras
                                               Holdings

Norwegian           Norwegian Cruise Line      Norwegian Cruise Line        5/6/2020       131         Honduras
Escape                                         Holdings

Oceania Marina      Oceania Cruises            Norwegian Cruise Line        5/6/2020       117         Honduras
                                               Holdings

Oceania Sirena      Oceania Cruises            Norwegian Cruise Line        5/6/2020       40          Honduras
                                               Holdings

Carnival Fantasy    Carnival Cruise Lines      Carnival Corporation         5/5/2020       2           United States

Mariner of the      Royal Caribbean            Royal Caribbean Cruises,     5/6/2020       1           United States
Seas                International              Ltd.

Koningsdam          Holland America Line       Carnival Corporation         5/6/2020       38          United States

Koningsdam          Holland America Line       Carnival Corporation         5/6/2020       21          Canada
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                                                                                            Number
                                                                             Date           of Crew     Country of
Vessel Name          Cruise line                Parent Company               Submitted      A ected     Repatriation


Celebrity            Celebrity Cruises          Royal Caribbean Cruises,     5/6/2020       1           United States
Summit                                          Ltd.

Disney Dream         Disney Cruise Line         Walt Disney Company          5/6/2020       75          Various Non-
                                                                                                        U.S.

Emerald              Princess Cruises           Carnival Corporation         5/6/2020       70          United States
Princess

Emerald              Princess Cruises           Carnival Corporation         5/6/2020       54          Canada
Princess

Celebrity In nity    Celebrity Cruises          Royal Caribbean Cruises,     5/7/2020       2           United States
                                                Ltd.

Norwegian            Norwegian Cruise Line      Norwegian Cruise Line        5/7/2020       2           Philippines
Escape                                          Holdings

Norwegian Epic       Norwegian Cruise Line      Norwegian Cruise Line        5/7/2020       2           Philippines
                                                Holdings

Norwegian Epic       Norwegian Cruise Line      Norwegian Cruise Line        5/7/2020       187         Philippines
                                                Holdings

Norwegian            Norwegian Cruise Line      Norwegian Cruise Line        5/7/2020       462         Philippines
Escape                                          Holdings

Oceania Sirena       Oceania Cruises            Norwegian Cruise Line        5/7/2020       1           Philippines
                                                Holdings

Disney Wonder        Disney Cruise Line         Walt Disney Company          5/8/2020       3           Philippines

Liberty of the       Royal Caribbean            Royal Caribbean Cruises,     5/8/2020       2           United States
Seas                 International              Ltd.

Carnival Fantasy     Carnival Cruise Lines      Carnival Corporation         5/8/2020       132         Peru

Carnival Fantasy     Carnival Cruise Lines      Carnival Corporation         5/8/2020       130         Peru

Norwegian            Norwegian Cruise Line      Norwegian Cruise Line        5/8/2020       56          Argentina
Escape                                          Holdings

Norwegian Epic       Norwegian Cruise Line      Norwegian Cruise Line        5/8/2020       45          Argentina
                                                Holdings

Oceania Marina       Oceania Cruises            Norwegian Cruise Line        5/8/2020       2           Argentina
                                                Holdings

Oceania Sirena       Oceania Cruises            Norwegian Cruise Line        5/8/2020       3           Argentina
                                                Holdings

Norwegian Joy        Norwegian Cruise Line      Norwegian Cruise Line        5/8/2020       14          Argentina
                                                Holdings
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                                                                                           Number
                                                                             Date          of Crew     Country of
Vessel Name         Cruise line                Parent Company                Submitted     A ected     Repatriation


Norwegian Epic      Norwegian Cruise Line      Norwegian Cruise Line         5/8/2020      1           Canada
                                               Holdings

Norwegian Epic      Norwegian Cruise Line      Norwegian Cruise Line         5/9/2020      76          South Africa
                                               Holdings

Carnival Fantasy    Carnival Cruise Lines      Carnival Corporation          5/11/2020     92          Ecuador

Carnival Fantasy    Carnival Cruise Lines      Carnival Corporation          5/11/2020     28          Brazil

Norwegian           Norwegian Cruise Line      Norwegian Cruise Line         5/11/2020     86          Brazil
Escape                                         Holdings

Norwegian Epic      Norwegian Cruise Line      Norwegian Cruise Line         5/11/2020     72          Brazil
                                               Holdings

Oceania Sirena      Oceania Cruises            Norwegian Cruise Line         5/11/2020     1           Brazil
                                               Holdings

Oceania Marina      Oceania Cruises            Norwegian Cruise Line         5/11/2020     8           Brazil
                                               Holdings

Carnival Fantasy    Carnival Cruise Lines      Carnival Corporation          5/11/2020     20          Argentina

Carnival Fantasy    Carnival Cruise Lines      Carnival Corporation          5/11/2020     11          Uruguay

Disney Fantasy      Disney Cruise Line         Walt Disney Company           5/11/2020     14          Mexico

Scarlet Lady        Virgin Voyages             Virgin Cruises Intermediate   5/11/2020     38          Bulgaria
                                               Limited

Scarlet Lady        Virgin Voyages             Virgin Cruises Intermediate   5/11/2020     1           United States
                                               Limited

Celebrity Edge      Celebrity Cruises          Royal Caribbean Cruises,      5/12/2020     16          United States
                                               Ltd.

Vision of the       Royal Caribbean            Royal Caribbean Cruises,      5/12/2020     63          United States
Seas                International              Ltd.

Disney Wonder       Disney Cruise Line         Walt Disney Company           5/12/2020     24          Indonesia

Disney Wonder       Disney Cruise Line         Walt Disney Company           5/12/2020     1           United States

Disney Fantasy      Disney Cruise Line         Walt Disney Company           5/12/2020     81          Honduras

Norwegian Epic      Norwegian Cruise Line      Norwegian Cruise Line         5/12/2020     191         Zimbabwe
                                               Holdings

Norwegian           Norwegian Cruise Line      Norwegian Cruise Line         5/12/2020     1           Bolivia
Escape                                         Holdings

Norwegian Epic      Norwegian Cruise Line      Norwegian Cruise Line         5/12/2020     1           Bolivia
                                               Holdings
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                                                                                            Number
                                                                              Date          of Crew     Country of
Vessel Name          Cruise line                Parent Company                Submitted     A ected     Repatriation


Liberty of the       Royal Caribbean            Royal Caribbean Cruises,      5/13/2020     349         Philippines
Seas                 International              Ltd.

Empress Of the       Royal Caribbean            Royal Caribbean Cruises,      5/13/2020     73          United
Seas                 International              Ltd.                                                    Kingdom

Celebrity            Celebrity Cruises          Royal Caribbean Cruises,      5/13/2020     43          United
Re ection                                       Ltd.                                                    Kingdom

Empress Of the       Royal Caribbean            Royal Caribbean Cruises,      5/13/2020     7           United States
Seas                 International              Ltd.

Norwegian            Norwegian Cruise Line      Norwegian Cruise Line         5/13/2020     6           United States
Escape                                          Holdings

Norwegian Epic       Norwegian Cruise Line      Norwegian Cruise Line         5/13/2020     5           United States
                                                Holdings

Oceania Marina       Oceania Cruises            Norwegian Cruise Line         5/13/2020     1           United States
                                                Holdings

Oceania Sirena       Oceania Cruises            Norwegian Cruise Line         5/13/2020     2           United States
                                                Holdings

Oasis of the Seas    Royal Caribbean            Royal Caribbean Cruises,      5/15/2020     1           United States
                     International              Ltd.

Norwegian            Norwegian Cruise Line      Norwegian Cruise Line         5/15/2020     1           United States
Escape                                          Holdings

Disney Dream         Disney Cruise Line         Walt Disney Company           5/16/2020     1           United States

Scarlet Lady         Virgin Voyages             Virgin Cruises Intermediate   5/18/2020     9           South Africa
                                                Limited

Scarlet Lady         Virgin Voyages             Virgin Cruises Intermediate   5/18/2020     23          Jamaica
                                                Limited

Scarlet Lady         Virgin Voyages             Virgin Cruises Intermediate   5/18/2020     1           United States
                                                Limited

Disney Dream         Disney Cruise Line         Walt Disney Company           5/19/2020     13          South Africa

Scarlet Lady         Virgin Voyages             Virgin Cruises Intermediate   5/19/2020     1           United States
                                                Limited

Celebrity Eclipse    Celebrity Cruises          Royal Caribbean Cruises,      5/18/2020     4           Romania
                                                Ltd.

Celebrity            Celebrity Cruises          Royal Caribbean Cruises,      5/18/2020     2           Romania
Millennium                                      Ltd.

Celebrity Eclipse    Celebrity Cruises          Royal Caribbean Cruises,      5/18/2020     11          Ukraine
                                                Ltd.
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                                                                                         Number
                                                                          Date           of Crew        Country of
Vessel Name       Cruise line                Parent Company               Submitted      A ected        Repatriation



Celebrity         Celebrity Cruises          Royal Caribbean Cruises,     5/18/2020      7              Ukraine
Millennium                                   Ltd.

Liberty of the    Royal Caribbean            Royal Caribbean Cruises,     5/20/2020      93             Philippines
Seas              International              Ltd.

Celebrity         Royal Caribbean            Royal Caribbean Cruises,     5/20/2020      172            Philippines
Equinox           International              Ltd.

Grand             Bahamas Paradise           Bahamas Paradise Cruise      5/20/2020      1              Peru
Celebration       Cruise Lines               Line

Norwegian Epic    Norwegian Cruise Line      Norwegian Cruise Line        5/21/2020      1              Bolivia
                                             Holdings

Harmony of the    Royal Caribbean            Royal Caribbean Cruises,     5/21/2020      68             Philippines
Seas              International              Ltd.

Disney Wonder     Disney Cruise Line         Walt Disney Company          5/20/2020      3              United States


                                                                                              Page last reviewed: May 22, 2020
